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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
                                              :             CIVIL ACTION
CLIFFORD SMITH,                               :
             Plaintiff,                       :
                                              :
      v.                                      :             No. 20-4903
                                              :
TRANS UNION, LLC and WELLS                    :
FARGO BANK, N.A.,                             :
              Defendants.                     :


                                       ORDER

      AND NOW, this 19th day of March 2021, upon consideration of Defendant Trans

Union’s Motion for Judgment on the Pleadings (ECF No. 42), Plaintiff’s Response in

Opposition with Partial Cross-Motion for Judgment on the Pleadings Re: Accuracy (ECF

No. 46), Trans Union’s Reply in Support of its Motion (ECF No. 47), Plaintiff’s Omnibus

Reply (ECF No. 48), Trans Union’s Notice of Supplemental Authority (ECF No. 49) and

Plaintiff’s Notice of Adverse Authority (ECF No. 50), it is hereby ORDERED that

Defendant’s Motion for Judgment on the Pleadings (ECF No. 42) is DENIED, and

Plaintiff’s Partial Cross-Motion for Judgement on the Pleadings Re: Accuracy (ECF No.

46) is also DENIED.

                                              By the Court:

                                              /s/ Chad F. Kenney

                                              Hon. Chad F. Kenney
